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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                        6/13/25
 UNITED STATES OF AMERICA,
             -against-                                22-CR-240 (AKH) (BCM)
 SUNG KOOK (BILL) HWANG and                           REPORT AND RECOMMENDATION
 PATRICK HALLIGAN,                                    TO THE HON. ALVIN K.
                                                      HELLERSTEIN (REDACTED)
                    Defendants.

BARBARA MOSES, United States Magistrate Judge.

       On July 10, 2024, after a nine-week jury trial, defendants Sung Kook (Bill) Hwang, the

founder and Chief Executive Officer of Archegos Capital Management (Archegos), and Patrick

Halligan, Archegos's Chief Financial Officer, were convicted of three counts of conspiracy,

securities fraud, and wire fraud in connection with a scheme to control the price and artificially

increase the value of certain securities in Archegos's portfolio. Hwang was additionally found

guilty of one count of securities fraud and six counts of market manipulation (as to six different

securities). The scheme began in 2020 and ended in late March 2021 with the collapse of the

artificially inflated market for those securities, which resulted in more than $100 billion in losses

to market participants, counterparty financial institutions, and – as relevant here – Archegos

employees, all of whom invested at least 25% of their year-end bonuses in Archegos's portfolio.

       On March 12, 2025, the Hon. Alvin K. Hellerstein, United States District Judge, referred

two questions to me for report and recommendation pursuant to the Mandatory Victims Restitution

Act (MVRA), 18 U.S.C. § 3664(d)(6). Those questions are: (1) "which former Archegos

employees are 'victims' for purposes of restitution under 18 U.S.C. § 3663A(a)(2)," and (2) "how

much restitution each is entitled to[.]" Dkt. 401. On December 19, 2024 – prior to the referral –

Judge Hellerstein determined that five former Archegos employees (the First Five) qualified as

victims entitled to restitution. See 12/19/24 Sentencing Tr. (Dkt. 376) at 6-8, 51. The government
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now requests restitution on behalf of a total of 39 former Archegos employees (the Proposed

Victims), including the First Five. See Phase II GX 1 (final proposed Schedule of Victims)

(sealed). 1 One additional former employee, Dave Park, was excluded from the government's

Schedule of Victims but objects to the exclusion and actively seeks restitution.

       After careful review of the evidence and arguments submitted in support of and in response

to the government's final restitution request, including testimony and exhibits received at the

evidentiary hearings that I held on May 9 and May 21, 2025, I conclude that 38 of the Proposed

Victims, plus Park, are entitled to restitution, and that the evidence is sufficient to provide a

"reasonable estimate" of the amount of restitution owed to each victim. Consequently, as discussed

in more detail below, I respectfully recommend that a total of 39 former Archegos employees

receive restitution, in the aggregate amount of $32,996,491.58, divided among them as detailed

below and summarized in Appendix 2.


1
  Under the MVRA, "[t]he privacy of any records filed, or testimony heard" regarding restitution
"shall be maintained to the greatest extent possible, and such records may be filed or testimony
heard in camera." 18 U.S.C. § 3664(d)(4). Much of the evidence discussed in this Report and
Recommendation was submitted under seal, including most of the declarations, letters, and other
documents submitted by or on behalf of the former Archegos employees seeking restitution, as
well as the detailed victim schedules and backup materials submitted by the government.
Additionally, the testimony of two former Archegos employees was taken confidentially during
the "Phase I" evidentiary hearing held before me on May 9, 2025, and that portion of the Phase I
transcript is sealed.
In this Report, "Phase I GX __" refers to government exhibits introduced during the Phase I
hearing. "Phase II GX __" refers to government exhibits introduced during the "Phase II" hearing,
held before me on May 21, 2025. "Trial Tr. __" refers to the consecutively-paginated trial
transcript, which spans numerous docket entries from Dkt. 253 to Dkt. 315. "GX __" refers to
government exhibits marked at trial. "1/21/25 Victim Sub." refers to a compilation of numerous
individual restitution requests from former Archegos employees, collected by the government and
submitted under seal as Exhibit C to the government's letter dated January 21, 2025 (1/21/25 Gov.
Ltr.) (Dkt. 383). "Rothman Ex. __" refers to the exhibits to the Declaration of Alexandra Rothman,
filed April 18, 2025 (Rothman Decl.) (Dkt. 410), some of which were submitted under seal.
"Hwang Ex. __" refers to the exhibits to the Memorandum on Behalf of Bill Hwang Addressing
Restitution, filed April 18, 2025 (Hwang Rest. Mem.) (Dkt. 408), some of which were submitted
under seal.

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I.      BACKGROUND

        A.     Relevant Facts

        I assume familiarity with the underlying facts, and recount them here only to the extent

they are pertinent to the restitution issues currently before me. Archegos was a "sophisticated

investment firm" that functioned like a hedge fund but operated as a "family office" (meaning that

it was exempt from regulatory oversight pursuant to the Investment Advisors Act of 1940), because

it "only invested the personal wealth of Hwang, his family, and the deferred compensation of [its]

employees." Superseding Indictment (SI) (Dkt. 134) ¶¶ 9-10; Hwang Final Presentence

Investigation report (Hwang PSI) (Dkt. 332) (sealed) ¶ 28.2 During the relevant period,3 Archegos

maintained a staff of more than fifty employees and managed more than $160 billion in assets

prior to its collapse in March 2021. SI ¶¶ 3, 10; Hwang PSI ¶ 23, 30.

        As is common in the financial services industry, Archegos employees received an annual

salary plus a discretionary year-end bonus, which could be substantial. Beginning in 2016, under

the "mandatory plan," employees were required to defer 25% of their year-end bonus for a four-

year period. Trial Tr. at 423-24, 459, 481 (Martz); id. at 560, 693-94 (Jones); see also Hwang PSI

¶ 99 & n.3; Hwang Rest. Mem. at 3 ("The initial deferral period for the mandatory plan was four

years."). 4 During that period, the deferred portion of each employee's bonus was "invested in

Archegos's portfolio," Hwang Rest. Mem. at 3, such that its value would rise "based on the fund's


2
 The relevant background facts set forth in Halligan's Final Presentence Investigation report (Dkt.
335) (sealed) are identical to those in Hwang's Final Presentence Investigation report.
3
 In this Report and Recommendation, "relevant period" means the time period outlined in each
count of the Superseding Indictment: "from at least in or about 2020, up to and including in or
about March 2021." SI ¶¶ 1, 68, 76, 78, 80, 82.
4
 The record suggests that in later years, employees were required to defer 25% of their annual
bonus for a five-year period. See Trial Tr. 459-60 (Martz); Rothman Ex. V (sealed) (copy of 2019
"Award Acceptance" provided by Archegos to one of the Proposed Victims).

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performance." Hwang PSI ¶ 99 n.3. At the same time, the plan had a "floor," such that (in theory)

the value of the deferred award could not decrease. Trial Tr. at 693-94 (Jones) ("[i]t could rise"

but "it could not fall below what it was issued at"); see also Hwang PSI ¶ 99 n.3.

       Under the mandatory plan, employees awarded bonuses at year-end 2016 were scheduled

to receive the deferred portion (plus any market gains) in early 2021. However, in November 2019,

they were given the option of re-deferring their 2016 deferred compensation awards for another

five years. Hwang Rest. Mem. at 3; see also Rothman Ex. GG (sealed) (November 25, 2019 email

from Archegos management to Archegos employees explaining that "those of you who received

the 2016 year-end deferred bonus" could "(a) Take the accrued money out [in] January 2021 or (b)

elect subsequent deferral which will continue to invest alongside the main portfolio"). Insofar as

the record reflects, no eligible employee declined that re-deferral option.5

       Beginning in 2018, Archegos added an "elective plan," under which "knowledgeable"

(senior) employees could defer up to an additional 25% of their bonus in 2018 and up to an

additional 35% in 2019 and 2020. Trial Tr. at 560 (Jones); see also Hwang PSA ¶ 99 & n.3; Hwang

Rest. Mem. at 3; Gov. Rest. Mem. (Dkt. 409) at 6-7; Rothman Ex. V (sealed) (2020 Archegos

Capital Management Elective Deferred Bonus Plan for Knowledgeable Employees). Most (though

not all) employees eligible for the elective plan deferred the maximum percentage permitted. See

Rothman Ex. R (sealed) (2020 firm-wide data); Gov. Rest. Mem. at 8.

       Defendant Hwang "personally made all investment and trading decisions" for Archegos,

and directed its research analysts, traders, and other employees. SI ¶ 12(a); see also Hwang PSI

¶ 24. "In practice, Hwang made every significant trading and investment decision" for Archegos.


5
  See Phase II GX 1, Tab 3 (showing that only three Archegos employees – all of whom left the
firm prior to the events at issue in this action – received distributions from the deferred
compensation program).

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SI ¶ 12(a). Defendant Halligan oversaw its accounting, cash management, and operations

functions. SI ¶ 12(b); Hwang PSI ¶ 25.

       Most of Archegos's trading positions "related to common stocks and American Depositary

Receipts, also known as 'ADRs,' traded on United States securities exchanges." SI ¶ 13; Hwang

PSI ¶ 32. To facilitate its trading in common stocks and ADRs, Archegos relied heavily on credit

extended by counterparty banks. SI ¶ 13; Hwang PSI ¶ 32. As a general practice, Archegos "would

initially establish its investments in cash equities, until it approached 5% ownership of all

outstanding stock of the security," which could trigger public disclosure requirements. SI ¶ 14;

Hwang PSI ¶ 33. When Archegos's ownership in a particular stock neared 5%, Hwang "required

that any additional exposure be through a financial agreement known as a total return swap." SI

¶ 14; Hwang PSI ¶ 33. When Archegos took a long position through a total return swap, its

counterparty generally purchased the underlying security, as a hedge. SI ¶ 16; Hwang PSI ¶ 35. In

practice, therefore, the use of swaps "meant that Archegos could bet on the price of a stock, and

dictate trading in the stock, without owning the stock itself." SI ¶ 17; Hwang PSI ¶ 36. Most of

Archegos's trading positions were "long," "meaning the value of [its] portfolio would increase if

the prices of the stock underlying its swaps increased." SI ¶ 21(a); Hwang PSI ¶ 41.6

       Beginning in 2020 – when COVID-related restrictions caused Archegos to move to a

remote work environment – defendant Hwang "corrupted" its operations and activities by engaging

in manipulative trading practices to artificially drive up the prices of the stocks underlying its

portfolio and, in turn, increase Archegos's industry standing and capacity to engage in further



6
  Archegos's counterparties permitted trading "on margin," that is, on credit. SI ¶ 18; Hwang PSI
¶ 37. When its positions rose in price, some of its margining agreements permitted it to withdraw
existing collateral, or "excess margin," thereby obtaining a portion of its gain as cash "without
needing to exit its position." SI ¶ 18; Hwang PSI ¶¶ 37-38.

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trades. SI ¶¶ 1, 24-40, 70-73. These goals were principally achieved by concentrated trading "in

the same stocks in large quantities day after day," SI ¶ 28(a); Hwang PSI ¶ 50, and "in amounts far

exceeding volumes known within the securities industry," SI ¶ 28(c); Hwang PSI ¶ 52 (noting that

by 2021, defendants sometimes exceeded as much as 35% of the daily trading volume of certain

stocks). For example, between October 2020 and March 2021, Archegos "routinely accounted for

more than 10% of the entire daily traded volume" of ViacomCBS (VIAC), SI ¶ 28(c)(ii), and

exceeded 35% of the trading volume in Tencent Music Group (TME) on eight days. Id. ¶ 28(c)(iv).

To further prop up the price of Archegos's stock holdings – and avoid margin calls – Hwang also

engaged in defensive buying tactics. For instance, he commonly directed traders to "serially" raise

limit prices, i.e., "the highest price they would pay for the stock," throughout the trading day, or

engage in high-volume trading at "strategic times" to affect the opening or closing prices of

relevant stocks. SI ¶¶ 28-35; Hwang PSI ¶¶ 50, 56, 62-67.

       Hwang's trading "had a stark impact upon market prices." SI ¶ 31; Hwang PSI ¶ 58. For

example, in two of Archegos's positions, VIAC and Discovery Communications, Inc. (DISCA),

the price of the stock rose more than 250% between October 1, 2020 and March 23, 2021, only to

fall "precipitously" following Archegos's own collapse. SI ¶ 31; Hwang PSI ¶ 58. During the same

period, Hwang "increasingly ignored internal Archegos analyst research," and instead "frequently

spent almost all of his workday with the traders, primarily via all-day, open-line video

conferences." SI ¶ 33; Hwang PSI ¶ 60.

       By early 2021, as Archegos's concentrated holdings grew rapidly, counterparty banks

began imposing escalating costs and restrictions on further trades. SI ¶¶ 34, 42-49; Hwang PSI

¶¶ 61, 72, 75, 77. To sustain the manipulative trading scheme, defendants "provided false and

misleading information to Counterparties in an effort to conduct [further] swap transactions and



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obtain [additional] margin lending," SI ¶ 41; Hwang PSI ¶ 72, including misrepresentations as to

the concentration of Archegos's positions, the liquidity of its holdings, and the composition of its

portfolio. SI ¶¶ 41-59; Hwang PSI ¶¶ 78, 80-92. The obvious risk was that "an unexpected decrease

in the value of Archegos's positions could quickly cause it to default on its margin loans and swap

guarantees to its Counterparties, which would then be forced to sell their hedges at significantly

reduced and declining prices, causing substantial losses." SI ¶ 49; Hwang PSI ¶ 79.

       In March 2021, this risk materialized, "caus[ing] billions of dollars in losses." SI ¶ 49;

Hwang PSI ¶ 79. On March 22, 2021, ViacomCBS announced a secondary stock offering,

significantly driving down the price of VIAC (one of the most concentrated positions in the

Archegos portfolio) and, accordingly, the value of that portfolio. SI ¶ 60; Hwang PSI ¶ 93. Using

"Archegos's free cash" (including employees' deferred compensation), Hwang "attempted to

defend the price of VIAC by initiating an extraordinary amount of trading." SI ¶ 60; Hwang PSI

¶ 93. However, by March 23, 2021, Hwang "had critically depleted Archegos's available cash,"

prompting margin calls from counterparty banks. SI ¶ 62; Hwang PSI ¶ 95. By March 26, 2021,

Archegos was unable to meet those outstanding margin calls and was forced to liquidate, "ow[ing]

billions of dollars more than it had" available to settle its positions. SI ¶¶ 62-67; Hwang PSI ¶¶ 95-

99. In a matter of days, market participants, counterparties, and Archegos employees suffered

billions of dollars in losses. SI ¶ 67; Hwang PSI ¶ 99 & n.3.

       Two years later, in the course of winding up its business, Archegos offered small

settlements to former employees who lost their deferred compensation when the fund collapsed.

See Rothman Ex. D (sealed); Phase II GX 1, Tabs 2, 3 ("Employee Settlement Payments" column).

In order to obtain settlement payments, the former employees were required to release certain civil




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claims arising out of their lost deferred compensation or otherwise out of their employment at

Archegos. See 1/21/25 Victim Sub. (settlement and release agreement signed by             ).

       B.      Relevant Procedural History

             1.       Pretrial and Trial Proceedings

       On April 25, 2022, the government filed an eleven-count indictment against Hwang and

Halligan. See Dkt. 1. On January 18, 2024, it filed the Superseding Indictment, charging

defendants with one count of racketeering conspiracy under 18 U.S.C. §§ 1962(c), (d) (Count

One); one count of securities fraud as to Archegos's counterparties under 15 U.S.C. §§ 78j(b) and

78ff, 17 C.F.R. 240.10b-5, and 18 U.S.C. § 2 (Count Ten); and one count of wire fraud as to

Archegos's counterparties under 18 U.S.C. §§ 1343 and 2 (Count Eleven). In addition, the

Superseding Indictment charged Hwang with one count of securities fraud under 15 U.S.C.

§§ 78j(b) and 78ff, 17 C.F.R. 240.10b-5, and 18 U.S.C. § 2 (Count Two); and seven counts of

market manipulation, under 15 U.S.C. §§ 78i(a)(2) and 78ff and 18 U.S.C. § 2, as to VIAC,

Discovery Communications, Inc. (DISCA and DISCK), GSX Techedu Inc. (GSX), iQIYI, Inc.

(IQ), TME, and Vipshop Holdings Ltd. (VIPS) (Counts Three through Nine).

       Hwang and Halligan maintained their innocence and proceeded to trial, which lasted nine

weeks, from May 8, 2024 through July 10, 2024. At trial, several former Archegos employees

testified, including about the mandatory and elective plans and the loss of their deferred

compensation upon Archegos's collapse. See, e.g., Trial Tr. at 423-24, 458-60 (Martz); id. at 560-

63, 573-76, 692-98 (Jones). On July 10, 2024, the jury found Hwang guilty on Counts One through

Six and Eight through Eleven, but not guilty on Count Seven (charging him with market

manipulation as to IQ). Halligan was found guilty on all counts charged against him (Counts One,

Ten, and Eleven). See Verdict Form (Dkt. 249); Trial Tr. at 5479-96.



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             2.        Restitution Proceedings Before the District Judge

       After trial, the government began receiving restitution requests, including – as relevant

here – from former Archegos employees who lost their deferred compensation when Archegos

collapsed. Hwang PSI ¶ 122. As of November 20, 2024, the government had received submissions

from four former Archegos employees seeking restitution. See Dkt. 340-2, Sched. A (sealed). A

fifth employee then requested restitution, and on December 18, 2024, the government submitted –

unsealed – a list of five proposed former employee victims (Christopher Burn, Sarah Gohmert,

Cindy Huang, Ryan Kealy, and Brendan Sullivan), for whom it sought restitution of approximately

$9.4 million. See Dkt. 371-1. That figure included almost $4 million in lost elective deferrals by

four of the five (Burn, Huang, Kealy, and Sullivan), and over $350,000 in attorneys' fees and

expenses incurred by the same four in connection with this action. Id.

       In support of their requests, each of the four employees seeking restitution for lost elective

deferrals explained that the deferrals were not truly "elective" because they were pressured to defer

the maximum amount. For example,           argued (through counsel) that "these additional deferrals

were very nearly compulsory and implicitly tied to bonus award amounts." 8/21/24 Moore Ltr. at

2 n.2; see also 12/3/24 Clayman Ltr. at 4 (asserting that             was "induced to make these

additional, 'voluntary' contributions through several material misrepresentations," including the

promise of a guaranteed payout at the end of the deferral period); 12/5/24         Decl. ¶ 14 ("I felt

pressure from senior management to contribute the maximum amount to the 'Elective' Plan or risk

being viewed by Defendant and other senior managers as disloyal."); 12/5/24                 Ltr. at 1

(arguing that "[i]t would be inaccurate to divide [his] deferred compensation into separate

mandatory and elective buckets" because, at Archegos, "maxing out [] deferred compensation . . .

was made mandatory."). As an example,                described "one occasion" when he elected to

defer less than the maximum amount, but was then approached by "Archegos executives,"
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including co-President Diana Pae, who urged him to change his election to the maximum, lest he

be "viewed as disloyal." 12/5/24             Ltr. at 1. Additionally, several employees noted that they

were required to make their elections in November, before they knew what their bonus would be

that year. Id.; 12/5/24       Decl. ¶ 16.7

       On December 19, 2024, during a sentencing hearing for defendant Hwang, Judge

Hellerstein determined that the First Five former employees were entitled to restitution as

requested, including for lost mandatory deferrals, lost elective deferrals, and legal expenses.

12/19/24 Sentencing Tr. at 6-8. As to the lost deferrals, the district judge reasoned that "Mr. Hwang

used [their] money as part of the capital that Archegos had to carry out its manipulation. So what

he got from the employees in their deferred compensation added to the way he deployed his funds

to execute what the jury found was manipulation. Accordingly, the proper finding would be that

they are victims; that the losses they suffered were the direct and proximate result of the violations

of law carried out by Mr. Hwang." Id. at 6-7. In making these findings, Judge Hellerstein relied in

part on "the testimony about the climate in Archegos," including "the requirement of employees

to declare how much they would be putting into deferred compensation before Mr. Hwang told

them what bonuses they would get and the distinct feeling they had that if they were not

cooperative with Mr. Hwang they would suffer in their employment." Id. at 6.8

       Shortly after the December 19 sentencing hearing, the government received multiple

additional submissions from former Archegos employees requesting to be included in the final



7
  All of the statements quoted in this paragraph were submitted under seal as part of the 1/21/25
Victim Submission. Some of them were then resubmitted, for example, as Rothman Ex. U
(           id. Ex. V (        id. Ex. AA (       id. Ex. FF (
8
 The district judge further ruled that the employees were entitled to priority with respect to the
deferred compensation losses but not with respect to their legal fees and expenses. 12/19/24
Sentencing Tr. at 7.

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restitution orders. See Dkt. 378. On January 8, 2025, the government proposed a schedule (which

the Court so ordered) under which additional employee submissions would be collected by

January 17; the government would update its proposed restitution orders by January 21; and any

objections would be lodged by January 24. See Dkt. 379. Accordingly, on January 21, 2025, the

government submitted an updated Schedule of Victims listing 41 former Archegos employees

(including the First Five), see Dkt. 383 Ex. B (sealed), together with the underlying restitution

requests themselves. As to all 41 former employees, the government took the position that they

were entitled to restitution for the loss of all of their deferred compensation (including both

mandatory and elective deferrals). On January 24, 2025, Hwang objected to the then-current

Schedule of Victims, see Dkt. 388, and Dave Park – a former Archegos analyst who was not

included on the government's schedule – objected to his exclusion, pointing out, among other

things, that the government did not oppose any other analyst's restitution claim. 1/24/25 Park Obj.

(Dkt. 389) at 2.

        On January 27, 2025, during defendant Halligan's sentencing hearing, Judge Hellerstein

stated that some individualized proof would be needed to show why the former employees who

made elective deferrals should be "treated as a victim rather than as a willing participant to what

looked to be a very lucrative deferred compensation agreement." 1/27/25 Sentencing Tr. (Dkt. 394)

at 55; see also id. at 3 (noting that the First Five showed that they "deferred compensation because

of undue pressure by Mr. Hwang or others," but it was "not proved" for other employees); id. at

57 ("if it's a voluntary deal, then they're not entirely victims[.]"). Thereafter, on March 12, 2025,

the district judge referred this case to me for report and recommendation as to which former

Archegos employees are "victims" and how much restitution each should be awarded.




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             3.        Further Changes to the Schedule of Victims

        On March 14, 2025, I requested (among other things) that the government submit its "most

recent proposed schedule of former Archegos employee victims," with backup data. 3/14/25 Order

(Dkt. 402) ¶ 1. On March 24, 2025, the government submitted another updated Schedule of

Victims, this one including a total of 40 former Archegos employees. See Dkt. 403 Ex. A (sealed).9

Finally, as noted above, the government updated its Schedule of Victims once again on May 21,

2025 – on the day of the Phase II hearing – after another former employee withdrew his claim for

restitution, bringing the total number of Proposed Victims to 39 (including the First Five but

excluding Park). The government seeks restitution on behalf of these Proposed Victims in the

aggregate amount of $31,544,430.03. See Phase II GX 1, Tab 1. This sum includes lost mandatory

deferrals for all Proposed Victims, lost elective deferrals for twelve of them, and reimbursement

for legal fees and expenses incurred by five of them, less the amount of any settlement received

from Archegos. See id., Tab 2. Separately, Park seeks restitution for $1.65 million in lost

mandatory and elective deferred compensation awarded to him in 2018 and 2019. See 1/21/25

Victim Sub. (January 17, 2025 letter from attorney Mark A. Berman on behalf of several former

employees, including Park).10


9
  Two former employees (whose names previously appeared on the Schedule of Victims) withdrew
their claims, see Dkt. 403 Ex. E (sealed), while one former employee,               , was added to
the Schedule of Victims. The government has never submitted any written restitution request by
or on behalf of       and did not explain why his name first appeared as a potential victim almost
two months after the deadline set by the district judge.
10
  Appendix 1 to this Report lists each former Archegos employee who now seeks restitution and
identifies where in the record (if at all) that employee's individualized restitution claim(s) may be
found. Ten of the Proposed Victims did not submit any written claim. Appendix 1 also shows
which former employees seek restitution for lost elective deferrals and which of them re-deferred
their mandatory 2016 deferrals in 2019. Lastly, Appendix 1 shows which former employees
expressly (i) deny having any knowledge of defendants' criminal conduct, and/or (ii) assert that
they were coerced into making elective deferrals or re-deferrals. Outside of the First Five, only a
handful of Proposed Victims have addressed these issues.

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II.    LEGAL STANDARDS

       Under the MVRA, restitution is mandatory where, as here, a defendant is being sentenced

for "an offense against property" under Title 18, "including any offense committed by fraud or

deceit," 18 U.S.C. § 3663A(c)(1)(A)(ii), and where "an identifiable victim or victims has suffered

a . . . pecuniary loss." Id. § 3663A(c)(1)(B). See United States v. Avenatti, 81 F.4th 171, 207 (2d

Cir. 2023), cert. denied, 144 S. Ct. 2598 (2024); United States v. Battista, 575 F.3d 226, 230 (2d

Cir. 2009). Where the offense results in loss of property for which the "return of the property . . .

is impossible," a restitution order must require the defendant to pay the victims "the value of the

property." 18 U.S.C. § 3663A(b)(1). In addition, the MVRA requires the defendant to "reimburse

the victim for lost income and necessary child care, transportation, and other expenses incurred

during participation in the investigation or prosecution of the offense or attendance at proceedings

related to the offense." 18 U.S.C. § 3663A(b)(4). Among the "other expenses" recoverable under

the MVRA are the "attorneys' fees incurred by victims while helping the government investigate

and prosecute the defendant," United States v. Afriyie, 27 F.4th 161, 163 (2d Cir. 2022) (quoting

United States v. Amato, 540 F.3d 153, 159-60 (2d Cir. 2008)), but only if the fees are incurred in

connection with "criminal matters" (as opposed to, for example, related regulatory or civil

proceedings). Id. at 163-64.

       Under the MVRA, a "victim" is "a person directly and proximately harmed as a result of

the commission of an offense for which restitution may be ordered." 18 U.S.C. § 3663A(a)(2).

"[C]o-conspirators" cannot be victims within the meaning of the MVRA. United States v. Reifler,

446 F.3d 65, 127 (2d Cir. 2006). Thus, any former Archegos employee who knowingly participated

in the defendants' criminal conduct is not a victim under the MVRA and is ineligible for restitution

in any amount. But that is not the end of the matter. Determining which "innocent" former

Archegos employees qualify as "victims" – and for what losses – requires determining whether
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their losses were directly and proximately caused by the criminal conduct for which defendants

were convicted. United States v. Goodrich, 12 F.4th 219, 228 (2d Cir. 2021); United States v.

Calderon, 944 F.3d 72, 95 (2d Cir. 2019). As to proximate cause, the key question is whether "the

harm alleged has a sufficiently close connection to the conduct[,]" Robers v. United States, 572

U.S. 639, 645 (2014) (citation omitted), "which we evaluate based on whether that harm was

'foreseeable' to a defendant." Goodrich, 12 F.4th at 229. Where, as here, the offenses of conviction

"involve[] as an element a scheme, conspiracy, or pattern of criminal activity," victims include any

identifiable persons "directly harmed by the defendant's criminal conduct in the course of the

scheme, conspiracy, or pattern." 18 U.S.C. § 3663A(2).

       Pursuant to MVRA § 3664(e), the government carries "the burden of demonstrating the

amount of the loss sustained by a victim as a result of the offense," and "any dispute as to the

proper amount or type of restitution shall be resolved by the court by the preponderance of the

evidence." 18 U.S.C. § 3664(e). In United States v. Archer, 671 F.3d 149 (2d Cir. 2011), the

Second Circuit explained that the government must show, by a preponderance of the evidence,

"that each alleged 'victim' was actually a victim." Id. at 172. It must also show the amount of each

victim's loss that was directly and proximately caused by the offenses of conviction. Goodrich, 12

F.4th at 228. However, the amount of the loss need not be determined with precision; the court

need only "make a reasonable estimate of the loss, given the available information." United States

v. Turk, 626 F.3d 743, 747-48 (2d Cir. 2010) (quoting United States v. Rutkoske, 506 F.3d 170,

178 (2d Cir. 2007)).

       "The showing required to satisfy the government's burden [] varies depending on the

circumstances[.]" Archer, 671 F.3d at 172. In many cases, "a generalized description of the

fraudulent scheme" suffices to support an award of restitution across a broad category of victims.



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Id. In other cases, "where it is plausible" that at least some purported victims were in fact knowing

participants, "the government must proffer some individualized evidence to meet its burden[.]" Id.

However, where the government's burden of proof "would require it to prove a negative and the

facts at issue are more readily ascertainable by the defendant," the Court may appropriately look

to the defendant "to assume a burden of production of evidence that presents at least a triable issue

as to the fact at issue, at which point the burden of persuasion must be assumed by the prosecution."

Id. at 173.

        Decisions as to what procedures are needed to resolve restitution disputes "lie within the

discretion of the sentencing court . . . so long as the defendant is given an adequate opportunity to

present his position." United States v. Gushlak, 728 F.3d 184, 193-94 (2d Cir. 2013); accord United

States v. Sabhnani, 599 F.3d 215, 257-58 (2d Cir. 2010). The court "may require additional

documentation or hear testimony," 18 U.S.C. § 3664(d)(4), but is not required to do either. See

Gushlak, 728 F.3d at 194 (district court was entitled to rely on affidavits and was not required to

"expand the evidentiary hearings to include the live testimony and cross-examination of the

affiants").

III.    NEW EVIDENCE SUBMITTED

        In my March 14, 2025 order, I asked the parties for their respective proposals for addressing

the two questions referred to me. 3/14/25 Order ¶¶ 3-4. The government proposed a minimalist

approach. In its view, "[a]ny former employee who contributed to Archegos's deferred

compensation program is entitled to restitution in the amount of [all] lost mandatory and elective

contributions unless he or she knowingly participated in the criminal conduct that led to the losses."

3/24/25 Joint Ltr. (Dkt. 403) at 1. Further, according to the government, this Court could




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"determine the class of eligible victims," as well as the amount of each victim's loss, "by a

preponderance of the evidence based on the existing record without a hearing." Id. at 3.

        Defendant Hwang, on the other hand, proposed a maximalist approach, under which the

government would be required to provide live testimony on a wide range of topics, including (for

example) testimony from "any former employee seeking restitution who did not submit a request

prior to December 19, 2024 concerning the reason(s) for their delay in seeking restitution," and

from "any former employee whom the government has, at any point, excluded from the victim list

and who still wishes to be included in a final restitution order concerning the government's reason(s)

for the exclusion[.]" 3/24/25 Joint Ltr. at 3. Hwang also sought testimony from each employee

who made elective deferrals, or who re-deferred their 2016 bonus in 2019, "concerning the

reason(s) for their participation in the elective deferred compensation plan and/or decision not to

withdraw funds that had vested." Id. at 4.

        Halligan took "no position on the procedures" the Court should adopt. 3/24/25 Joint Ltr.

at 5.

        During a conference on April 7, 2025, the parties discussed their respective proposals at

length. See Dkt. 415. I then issued an order scheduling two evidentiary hearings: a Phase I hearing

to determine which employees qualify as victims (and as to which losses), and a Phase II hearing

to address calculation issues. See Dkt. 405. In the same order, I asked for supplemental briefs in

advance of the Phase I hearing, which the parties (and Park) submitted on April 18, 2025.

        Consistent with the position it took in the March 24 joint letter, the government declined

to produce any witnesses or new documentary evidence for the Phase I hearing, maintaining that

"there is ample basis in the record" to find that each of the employees on its Schedule of Victims

is entitled to restitution. Gov. Rest. Mem. at 20. In order to assist the Court in that task, the



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government submitted a compilation of evidence from the existing record, including excerpts from

the trial testimony of Scott Becker, Brian Jones, Jesse Martz, and William Tomita, see Rothman

Exs. E-O, T; a sampling of previously-submitted victim statements, see id. Exs. U-GG (sealed);

and detailed data (obtained from Archegos's corporate counsel and presented in the form of Excel

spreadsheets) concerning the former Archegos employees' deferred compensation contributions

(both mandatory and elective), withdrawals, and settlements. Id. Exs. B-D (sealed).11

        Defendant Hwang's April 18, 2025 memorandum argued that the existing record "does not

satisfy the government's burden of proving by a preponderance" that the "newly added employees

with deferred compensation that was elective and/or eligible to be withdrawn" are entitled to

restitution with respect to those losses. Hwang Rest. Mem. at 18.12 Hwang acknowledged that

Judge Hellerstein relied upon trial evidence and the submissions of the First Five to find that they

are entitled to restitution as to all of their deferred compensation losses, id., but argued that that

evidence was insufficient "for this Court to make a generalized finding that all employees were

subject to the same pressure, and that their decisions were a consequence of that pressure." Id. at

18-19. Hwang asserted that individualized evidence of coercion would be required as to each

employee seeking restitution for losses associated with elective deferrals or re-deferrals, and noted

that most of the newly-named Proposed Victims did not submit any such evidence. Id. at 19-21.

Accordingly, in Hwang's view, "[t]he Government cannot meet its burden without putting forth

additional evidence establishing that the [newly-named] employees were coerced[.]" Id. at 22; see


11
   There is no dispute as to the accuracy of the compensation data set forth in the Excel
spreadsheets submitted by the government.
12
  As noted above, one of the former Archegos employees withdrew his restitution claim on May
21, 2025. By the Court's count, the government's final Schedule of Victims (Phase II GX 1, Tab
1) includes 20 former Archegos employees (comprising all of the First Five plus 15 newly-named
Proposed Victims) who re-deferred their 2016 deferred compensation in 2019, participated in the
elective plan when it became available, or both. See App. 1.

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also id. at 26 ("It is the government's responsibility to marshal whatever evidence it believes will

make that showing.").

        Additionally, Hwang argued that the government should be required to "address its

decision to include [two former employees, referred to herein as "Executive 1" and "Executive 2"]

in its proposed Schedule of Victims after first informing their counsel that it was 'undecided' about

whether they were 'innocent victims entitled to restitution' or knowing participants who should be

excluded in the restitution order." Hwang Rest. Mem. at 26. In Hwang's view, if and to the extent

the government had any basis to believe that these two former employees had knowledge of or

involvement in defendants' criminal conduct, it should be required to make that evidence available.

Id. at 27.

        As for Park, he submitted a letter-brief arguing that the government had "failed to establish

by a preponderance of the evidence that [he] was a knowing participant in the conspiracy," but that

if the government continued to "insist upon its current position," he was prepared to testify at the

Phase I hearing. See 4/18/25 Park Ltr. (Dkt. 406) at 1.

        By order dated May 7, 2025, I advised the parties as to what additional evidence – in my

view – would be required at the Phase I hearing. First, I explained, I would have to determine

whether any of the former employees knowingly participated in defendants' criminal conduct.

5/7/25 Order (Dkt. 413) at 1. Applying the burden-shifting analysis set forth in Archer, 671 F.3d

at 172-73, I found it "plausible" that Executive 1 and Executive 2 (about whom the government

apparently had some doubts before including them on its final proposed Schedule of Victims)

could be knowing participants in the criminal conduct. 5/7/25 Order at 2. Consequently, I

concluded, "the Government must present individualized evidence supporting its current view that

these two employees are 'innocent' of the offense conduct." Id.



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       As to Park, I rejected his assumption that the government was required to justify its

exclusion of him from the Schedule of Victims by a preponderance of the evidence as inconsistent

with 18 U.S.C. § 3664(e). 5/7/25 Order at 7 ("It cannot be the case . . . that every self-proclaimed

victim must be accepted as such under the MVRA unless the Government disproves that claim.").

Instead, I explained, because the government was unwilling to request an award on his behalf, he

himself would bear the burden of proof, and thus would be required to persuade the Court, by a

preponderance, that he was a "victim," as that term is used in the MVRA, entitled to restitution. Id.

       Turning to the coercion issue, I agreed with the government that former Archegos

employees who were otherwise entitled to restitution for their lost deferred compensation should

not be required to show that their deferral or re-deferral decisions were coerced. I explained:

       [T]here is no principled distinction to be made between innocent employees who
       lost their deferred compensation because they were required to invest it in the
       Archegos fund and innocent employees who lost their deferred compensation
       because they chose to do so (or chose not to withdraw a portion of it when they had
       the opportunity to do so in late 2019), trusting that the fund would be operated in
       accordance with the law. In both cases, the resulting loss was entirely foreseeable
       to defendants "in the course of committing the offense[s] of conviction." Goodrich,
       12 F.4th at 223.

5/7/25 Order at 5. I then advised the parties that, to the extent proof of coercion was required,

"neither the evidence presented at trial nor the victim statements submitted to date show that all

[of the newly-named] employees who made elective deferral or re-deferral decisions did so as a

result of coercion or pressure." Id. at 5-6. Consequently, I gave the government another opportunity

to present testimony or other individualized evidence of coercion, "particularly as to those

employees who did not submit victim statements or did not address the coercion issue in their

victim statements." Id. at 6.

       The government declined the invitation. By letter dated May 8, 2025 (Dkt. 417), it advised

the Court that "it does not intend to present further testimony or evidence at the Phase I hearing."


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       On May 9, 2025, the Court conducted the Phase I hearing, at which three former Archegos

employees testified: Park (in open court) and Executives 1 and 2 (in the presence of all parties but

in a non-public setting). All three provided direct testimony under questioning from their own

counsel, after which the government and the defendants were given the opportunity to cross-

examine them. See Phase I Tr. (Dkt. 424) at 24-79 (Park); id. at 80-87 (Executive 1); id. at 88-105

(Executive 2). All three witnesses testified that they were not knowing participants in defendants'

conspiracy. Park readily conceded that his elective deferral decisions (made in 2018 and 2019)

were voluntary. Id. at 67. Executive 1 and Executive 2 were not asked – and did not volunteer any

testimony – about their elective deferrals and re-deferrals.

       By order dated May 9, 2025, issued after the Phase I hearing concluded, I gave the former

Archegos employees seeking restitution one more opportunity to submit written evidence with

respect to the coercion issue. See Dkt. 418. Their deadline was May 15, 2025. On that day, the

Court received one supplemental declaration – from                  , one of the First Five, who had

already submitted evidence regarding coercion, and whose restitution claim had already been

approved by Judge Hellerstein.          stated (again) that he was "pressured by the Defendant and

his co-conspirators to contribute an additional 35% of [his] bonus . . . through misrepresentations

and coercion." 5/15/25 Supp.         Decl. (sealed) ¶ 8.        also requested "an additional $5,000

in legal fees to cover the costs of preparing and submitting this declaration." Id. ¶ 2 n.1.

       Finally, on May 21, 2025, the Court conducted the Phase II evidentiary hearing, regarding

the amount of restitution to be awarded to each former employee victim. The government offered

the testimony of the FBI forensic accountant responsible for performing the financial calculations

underlying its restitution request, see Phase II Tr. (Dkt. 426) at 4-7, and defendants cross-examined

the witness. Id. at 16-20.



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IV.    PROPOSED FINDINGS OF FACT AND RECOMMENDATIONS AS TO
       DISPOSITION

       A.      Lack of Knowing Participation

             1.        Executive 1 and Executive 2

       As noted above, any former Archegos employee who knowingly participated in defendants'

criminal conduct is not a "victim" under the MVRA and consequently is not eligible to receive

restitution. Reifler, 446 F.3d at 127 (disallowing restitution for those individuals whose stock lost

value but who bought it knowing the defendant intended to inflate the price artificially); Archer,

671 F.3d at 172 ("[C]o-conspirators, who, by definition, know of the scheme, are not victims and

may not receive restitution[.]"). Moreover, it is generally the government's burden to show "that

each alleged 'victim' was actually a victim." Archer, 671 F.3d at 172; see also 18 U.S.C. § 3664(e).

       This does not mean, however, that the government was required to furnish individualized

evidence establishing that each Proposed Victim – from senior executives to receptionists – did

not knowingly participate in the criminal conduct of Hwang and Halligan. As the Second Circuit

explained in Archer, "[t]he showing required to satisfy the government's burden on this point,

varies depending on the circumstances of the fraud." Archer, 671 F.3d at 172. Where, as here, "the

prosecution's burden of proof would require it to prove a negative and the facts at issue are more

readily ascertainable by the defendant," the Court may appropriately look to the defendant "to

assume a burden of production of evidence that presents at least a triable issue as to the fact at

issue[.]" Id. at 173. Only then must the burden of persuasion be "assumed by the prosecution." Id.




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        In this case, defendants did not "present a triable issue of fact" as to any of the Proposed

Victims except two research analysts, Executive 1 and Executive 2.13 Consequently, there was no

need for additional "evidence of innocence" as to any other Proposed Victim.

        Both Executive 1 and Executive 2 testified (under questioning from their own counsel) that

they were senior research analysts at Archegos. See Phase I. Tr. at 82 (Executive 1); id. at 89-90

(Executive 2). Both testified that they never falsified any information in their research reports, see

id. at 83 (Executive 1); id. at 91 (Executive 2), and played no role in daily trading, trading strategy,

or communicating with brokers or other third parties. See id. at 83 (Executive 1); id. at 91-92

(Executive 2). Both stated unequivocally that they had no knowledge of defendants' criminal

conduct. See id. at 84-85 (Executive 1); id. at 96 (Executive 2).

        Executive 1 worked remotely during the COVID pandemic and rarely saw defendant

Hwang. See Phase I Tr. at 85-86. Executive 2 worked remotely for approximately the first six

months of the pandemic, and then began working in what the Archegos employees referred to as

the "corporate apartment," in Manhattan, where Hwang and Park also worked in late 2020 and

early 2021. See id. at 93-94. However, according to Executive 2, all three of them wore masks and

"spread out as best we could." Id. at 95. Executive 2 did not listen to Hwang's phone calls, did not


13
   Even as to these two, defendants did not present any admissible evidence suggesting that they
knowingly participated in defendants' crimes. Rather, defendant Hwang argued that the
government should be "required to address its decision to include [Executive 1 and Executive 2]
in its proposed schedule of victims after first informing their counsel that it was 'undecided' about
whether they were 'innocent victims entitled to restitution' or knowing participants who should be
excluded in the restitution order." Hwang Rest. Mem. at 26; see also Hwang Ex. W at 2 (sealed)
(January 7, 2025 letter from former employees' counsel, stating counsel's "understanding" that the
government "is undecided about [Executive 1 and Executive 2]"). It was therefore, in my view, a
close question whether Hwang had raised a "triable issue of fact," Archer, 671 F.3d at 173, as to
either Executive 1 or Executive 2. Ultimately, as I explained during the Phase I hearing, I
concluded that the "prudent thing to do," under the circumstances, was to "require that either the
government, or, in the government's absence, the two executives themselves provide some
evidence that they did not knowingly participate in Defendants' crimes." Phase I Tr. at 20.

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"participate in Mr. Hwang's meetings with the traders," and did not hear or see anything in the

apartment "that suggested that there was a criminal securities fraud being committed[.]" Id. at 95.

       I found the testimony of Executive 1 and Executive 2 to be credible. Moreover, no contrary

evidence was adduced. I am therefore satisfied that neither of them knowingly participated in

defendants' criminal scheme. Even if the government was at one point uncertain as to whether to

include Executive 1 and Executive 2 in the Schedule of Victims, there is no reason to exclude them

now. See, e.g., U.S. v. Paul, 634 F.3d 668, 676, 678 (2d Cir. 2011) (upholding award of restitution

to a victim that was initially excluded after the Probation Department "'concluded that it erred' and

changed its position"). I recommend that both be included in the Court's final restitution orders.

             2.        Park

       The government's decision to omit Dave Park from the Schedule of Victims was motivated

by two principal considerations. First, although Park (like Executive 1 and Executive 2) was an

analyst, not a trader, he "worked daily with Hwang out of the Archegos corporate apartment," and

therefore, in the prosecutors' view, "had a front-row seat to Hwang's manipulative trading strategy

during the period of the offense conduct." 1/21/25 Gov. Ltr. at 5-6. As support for this point, the

government relied on a photograph (GX 22) showing Park sitting at the kitchen table in the

apartment, not far from the laptop on which Hwang and the Archegos traders were "on one of their

all-day Zoom calls[.]" Id. at 5. Second, the government pointed to a March 15, 2021 email from

Park to a more junior Archegos analyst, in which Park asked his colleague to help Hwang "justify"

his price targets for VIAC and DISCK (GX 178), as evidence that Park "understood that Hwang's

price targets for the securities he was manipulating . . . were disingenuous." Id. at 6.

       In response, Park argued that his "mere presence" at the corporate apartment did not mean

he had knowledge of the criminal conspiracy, and pointed out that Executive 2 – for whom the

government sought restitution – also worked out of the corporate apartment. 1/24/25 Park Obj.
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at 3-4. Park insisted that he – like Executive 2 – "was not involved in setting trading strategy, []

did not conduct trades, and . . . was [not] a knowing participant in the criminal conspiracy alleged

by the government." Id. at 4. With respect to the March 15, 2021 email, Park explained that he

"simply was telling [the junior analyst] . . . that he should investigate the assumptions that would

be needed to support Hwang's price target so that the assumptions driving the price difference

could be provided to Mr. Hwang to consider[.]" Id. Park reiterated these points in his April 18,

2025 letter-brief, see Ltr. at 2-6, and in his Phase I testimony, which was taken in open court.

       Like Executive 1 and Executive 2, Park testified that he never falsified any information in

his research reports, see Phase I Tr. at 27; that he played no role in daily trading, trading strategy,

or communicating with brokers or other third parties, see id. at 27-28; and that he had no

knowledge of defendants' criminal conduct. See id. at 32-34, 37-38. Park began working out of the

corporate apartment early in the pandemic, with Hwang, because he "lived close by." Id. at 29.

Sometimes he acted as "a glorified assistant" for Hwang, performing administrative and logistical

tasks. See id. at 30, 32. Like Executive 2, however, he testified that he did not participate in or

listen to Hwang's (video) meetings with the traders, did not witness anything that appeared to be

"illicit," and did not know that Hwang was manipulating securities prices. Id. at 31-33.

       On cross-examination, the government emphasized that Park was in the corporate

apartment almost every day, sometimes printing materials out for Hwang, and thus was in a

position to know that Hwang was monitoring the P&L of the Archegos portfolio while on Zoom

calls with traders, was "buying and selling throughout the day," and was increasing the frequency

of his trading. See Phase I Tr. at 39-42. The government also established that, until late January

2021, Park received a daily email listing Archegos's portfolio holdings, from which he could see

that the portfolio was growing significantly and becoming increasingly concentrated in a handful



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of stocks. See id. at 42-45. Insofar as the record reflects, however, Executive 2 – for whom the

government seeks restitution – worked under the same conditions, in the same proximity to Hwang,

with the same access to information. See id. at 96-98. In his testimony, moreover, Park repeatedly

disclaimed knowledge of Hwang's "trading strategy" (as opposed to his "investment strategy,"

which Park described as "long term"). See id. at 41-43.

       Next, the government questioned Park about a text-message thread from August 20, 2020

(GX 2966), in which Hwang and various Archegos traders were discussing that day's trading in,

and price movements of, GSX and VIAC. Both securities rose in price that day. At the end of the

thread, a trader noted that GSX was driving the Archegos P&L up 11.5%, to which Park responded

with "celebration" emojis. Park agreed that he was "celebrating the increase in the price of GSX,"

Phase I Tr. at 52, but denied that he could see, from the text-message thread, "how the prices

moved with Mr. Hwang's trading." Id. at 49 ("I don't know if it's because of his trading. I know the

stocks were going up and down, but not necessarily because of his trading."). I found Park credible

on this point and am reluctant to interpret his use of a celebratory emoji in response to a profitable

day as evidence that he was a knowing participant in a market manipulation scheme.

       Park was then asked about the March 15, 2021 email regarding Hwang's price target for

VIAC and DISCK. Notwithstanding his use of the word "justify" in that email, Park testified that

his task was "to help [Hwang] analyze" the companies and to "to help him figure out if he thinks

this is a good price target." Phase I Tr. at 54-55. More broadly, although the government suggested

that Park was willing to tailor his analysis to Hwang's preconceived notion of what the price target

should be for the securities in Archegos's portfolio, it failed to explain how – if at all – this

contributed to (or showed Park's knowledge of) the market manipulation scheme of which Hwang

was found guilty.



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        Hwang was also found guilty of defrauding Archegos's prime brokers and counterparty

banks, including by lying to them about the volume of Archegos's trading in certain securities. In

an effort to demonstrate that Park knew about those lies, the government showed that he was

present for (and in fact took notes during) a series of calls with banks on March 25, 2021, days

before Archegos collapsed. Phase I Tr. at 57-60; Phase I GX D. During one such call, Hwang

stated (according to Park's notes) that the fund's "top positions trade $2-5bn," when in fact,

according to Archegos's internal "portfolio reports," the average daily trading volume for the firm's

"top names" was only $2 billion to $2.8 billion. Phase I Tr. at 61-63; Phase I GX A. I note, however,

that by March 2021, Park was no longer receiving the daily portfolio reports. See Phase I. Tr. at

45 (Park received them until "the end of January 2021"). The March 25, 2021 reports passed

through his hands only because Hwang asked him to print them out for him. Id. at 61; Phase I

GX A. I cannot conclude that Park had the requisite guilty knowledge simply because, in his role

as Hwang's "glorified assistant," Phase I Tr. at 30, he printed out documents from which the

discrepancy could have been discovered.14

        Finally, the government sought to draw an inference of complicity from the fact that Park

received a "spot bonus" at the end of 2020. Phase I Tr. at 63-65. As Park explained, both he and

Executive 2 received a spot bonus that year. Id. at 63. When asked why, Park stated that he did not

know but he could guess that it was because during the pandemic, when everyone else was working



14
  I note as well that the government's theory as to the nature of Hwang's March 25, 2021
misrepresentation appears to have changed. According to the presentence investigation report,
Hwang "misleadingly informed the Counterparties" on that date "that Archegos's top two-to-three
securities positions had average daily trading ('ADT') of $2 to $3 billion," when in fact the ADT
was higher. Hwang PSI ¶ 89. When cross-examining Park, however, government counsel pressed
him to acknowledge that Hwang informed the counterparties that the firm's "top positions" had
average daily trading of $2 to $5 billion, when in fact the ADT did not reach $5 billion. Phase I
Tr. at 60-63.

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remotely, he was in the corporate apartment "every day, like, long, long days." Id. at 65; see also

id. at 103 (Executive 2, testifying that the spot bonus had "something to do with, you know, like a

bit of hardship, like, it was Covid and, you know, I was willing to travel and be in the corporate

apartment.").

       Taken as a whole, I found Park's testimony both credible and consistent with the testimony

of Executive 2. By contrast, the government's efforts to distinguish the two analysts – painting

Park as complicit while seeking restitution for Executive 2 – rest largely on inference, speculation,

and a handful of ambiguous documents. I note as well that Park chose to testify, to "clear [his]

name" (and, of course, in hopes of obtaining a substantial restitution award), Phase I Tr. at 25,

notwithstanding the government's warning that "were he to get on the witness stand and say things

similar to what he said at the time of [his] interviews, we do think there could be consequences

that follow from that testimony." Id. at 22; see also id. at 23 (warning Park directly). Accordingly,

I recommend that Park also be included in the Court's final restitution orders.

       B.       Coercion

       I next turn to the coercion question; that is, whether the former Archegos employees who

participated in the elective plan, or who re-deferred their 2016 bonus, must show that defendants

coerced them into making those decisions in order to establish that the resulting losses were

"directly and proximately" caused by defendants' criminal conduct. 18 U.S.C. § 3663A(a)(2). This

issue does not affect the rights of the First Five, because they have already established, to the

satisfaction of the district judge, that they were coerced. See 12/19/24 Sentencing Tr. at 6-7;

1/27/25 Sentencing Tr. at 3. Nor does it affect the rights of the 19 additional Proposed Victims

who only participated in the mandatory plan (and had no 2016 bonus to re-defer in 2019). See App.

1. As to 15 of the newly-identified Proposed Victims, however, it does matter, because, in addition



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to participating in the mandatory plan, they participated in the elective plan when it became

available, re-deferred their 2016 bonus in 2019, or both. See App. 1; App. 2.15 It also matters to

Dave Park, if he is otherwise found eligible for restitution, because he participated in both the

mandatory and the elective plan. See App. 1; App. 2.

             1.        Whether Coercion is Required for Proximate Causation

        Defendant Hwang contends that individualized proof of coercion should be required before

restitution can be awarded for elective or re-deferred contributions, because (i) "it is the law of the

case," Hwang Rest. Mem. at 16, and (ii) "a finding that Mr. Hwang played no role in employees'

decisions to defer compensation would take these losses outside the chain of causation." Id. at 17.

The government disagrees, arguing that the law of the case doctrine cannot apply where, as here,

the district judge has "probed the circumstances of the employee losses" but has not "ruled" that

only involuntary compensation deferrals by Archegos employees are compensable under the

MVRA. Gov. Rest. Mem. at 18. Further, in the government's view, any rule that would exclude an

otherwise-eligible Archegos employee from restitution – because that employee made a voluntary

deferral in hopes of profit – would run contrary to the MVRA, which requires only that the victim

was directly and proximately harmed as a result of the defendants' criminal conduct. Id. at 18-20.

        The Court agrees with the government on both points. The law of the case doctrine applies

once a court has "ruled on an issue." Johnson v. Holder, 564 F.3d 95, 99 (2d Cir. 2009) (quoting

United States v. Quintieri, 306 F.3d 1217, 1225 (2d Cir. 2002)). In this case, Judge Hellerstein did

not rule on either of the questions that he referred to me for recommendation pursuant to 18 U.S.C.

§ 3664(d)(6). And I cannot make a recommendation as to "how much restitution" each former


15
  Appendix 1 identifies which former Archegos employees participated in which plans. Appendix
2 gives the dollar amount of each employee's mandatory deferrals, elective deferrals, and re-
deferrals.

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Archegos employee is entitled to without considering whether – and under what circumstances –

they are entitled to restitution for the loss of compensation that was deferred voluntarily as well as

involuntarily. I therefore conclude that the coercion question is within the scope of my reference

– subject, as always, to "a de novo determination of the issue" by the district judge. Id.

        I further conclude, as I did in my 5/7/25 Order, that the MVRA does not require victims to

show that they parted with their money involuntarily in order to recover restitution. The phrase

"directly and proximately harmed," as used in 18 U.S.C. § 3663A(a)(2), has been interpreted in

our Circuit "to impose cause-in-fact and proximate cause requirements, respectively." Goodrich,

12 F.4th at 229. "Cause-in-fact," that is, but-for cause, is not seriously disputed in his case. But for

defendants' offense conduct, the Archegos portfolio would not have imploded in late March 2021,

destroying the value of all of the employees' deferred compensation accounts, both mandatory and

elective.

        Proximate cause, in contrast, "is a flexible concept that defies easy summary." Calderon,

944 F.3d at 95 (2d Cir. 2019) (quotations and citation omitted); see also United States v. Marino,

654 F.3d 310, 319 (2d Cir. 2011) ("caution[ing] against a rigid 'direct' causation standard that

would foreclose restitution where even the slightest intervening event severs factually or

temporally the link between defendant's crime and victim's loss.").16 In order to determine whether

"the harm alleged has a sufficiently close connection to the conduct," Robers, 572 U.S. at 645, the

courts focus on whether that harm was "foreseeable" to the defendant. Goodrich, 12 F.4th at 229

(quoting Robers, 572 U.S. at 645).


16
  It is well settled in this Circuit that a victim's harm may have multiple proximate causes. See,
e.g., Sosa v. Alvarez-Machin, 542 U.S. 692, 704 (2004) ("[A] given proximate cause need not be,
and frequently is not, the exclusive proximate cause of harm."); Staub v. Proctor Hosp., 562 U.S.
411, 421 (2011) ("[I]t is common for injuries to have multiple proximate causes."); accord United
States v. Barbera, 2023 WL 6095026, at *2 (S.D.N.Y. Sept. 18, 2023).

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       Again, this is not a close question, regardless of how the employees' funds came to be

deferred. Once invested, both mandatory and elective accounts were effectively frozen for at least

four years, enabling defendant Hwang to "use[] this money as part of the capital that Archegos had

to carry out its manipulation." 12/19/24 Sentencing Tr. at 8; see, e.g., Rothman Ex. V (sealed).

Defendants were well aware of the employee money under their stewardship. They tracked it on a

daily basis and utilized it, alongside Hwang's own capital, to fuel their unlawful trading. See, e.g.,

Rothman Ex. P (Dkt. 410-12) (Archegos "Capital Base Table for March 18, 2021, as emailed to

defendant Hwang that day, showing that the firm had $764 million in deferred employee

compensation at its disposal). Moreover, as the district judge pointed out, given the size and scope

of the market manipulation scheme, it was "inevitabl[e]" that the "inflated and false market" would

collapse, see 11/20/24 Sentencing Tr. (Dkt. 349) at 30, injuring all of the deferred accounts equally.

       The distinction that Hwang seeks to draw – between employees compelled to defer their

compensation by him and those who deferred willingly, in hopes of a profit – has no basis in the

MVRA or relevant caselaw. First, "[a]s a matter of plain meaning, a victim is a 'person harmed by

a crime,"' and may include individuals who "willingly participated in it in the hope of obtaining a

benefit" and "[e]ven if [the victims] engaged in the scheme voluntarily." United States v. Rainford,

110 F.4th 455, 483-84 (2d Cir. 2024); see also Gushlak, 728 F.3d at 187 (victims included

voluntary investors in legitimate stocks who, unwittingly, had their investments diverted into

illegitimate, manipulated stocks); United States v. Perez, No. 22-1547, 2023 WL 8800722, at *1

(2d Cir. Dec. 20, 2023) (summary order) (voluntary nature of investments was irrelevant where

defendant used the funds to executive unauthorized trades as part of securities fraud scheme).

       Second, it is well-settled that restitution under the MVRA may not be denied based on a

victim's alleged negligence, contributory fault, failure to mitigate, or related tort concepts. See,



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e.g., United States v. Thomas, 377 F.3d 232, 241-42 (2d Cir. 2004) (collecting cases); United States

v. Holland, 394 F. App'x 766, 768 (2d Cir. 2010) (summary order); United States v. Zafar, 291 F.

App'x 425, 429 (2d Cir. 2008); United States v. Agnew, 171 F. App'x 376, 397 (2d Cir. 2006)

(summary order).

       Third, even if a market manipulation victim had to prove that she was not in some way at

fault for her own injury, there is no fault to be assigned here. As Hwang himself points out, most

of the employee compensation that defendants lost through their market manipulation scheme was

deferred (either through the mandatory plan or by election) well before the charged scheme was

hatched in 2020. See Hwang Rest. Mem. at 6-7. Insofar as the record discloses, there was no reason

for any Archegos employee to suspect, pre-COVID, that during the pandemic defendants would

put their money to work manipulating the prices of VIAC and DISCA. And, thanks to the long

vesting schedule under the Archegos deferred compensation plans (which applied to both

mandatory and elective contributions), even if an Archegos employee became uneasy and wished

to withdraw his money, there was no easy way (short of quitting his job) to do so.

       In short, there is no principled distinction to be drawn, under the MVRA, between innocent

Archegos employees who deferred 25% of their bonus because they had to, and innocent Archegos

employees who deferred 50% or 60% of their bonus because they trusted the firm's promise that

the value of their account "could not fall below what it was issued at." Trial Tr. at 693-94 (Jones).

In both cases, once the money was locked in, defendants used it "in service of the offense of

conviction," United States v. Seabrook, 968 F.3d 224, 235 n.6 (2d Cir. 2020), thereby both directly

and proximately causing enormous financial harm.

       Accordingly, I respectfully recommend that all otherwise eligible former Archegos

employees be awarded restitution for the full amount of their lost deferred compensation - both



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mandatory and elective - because those losses were directly and proximately caused by defendants'

criminal conduct. See Appendix 2, "Recommended Restitution" column (recommending a total

award of $32,996,491.58 in restitution, calculated by summing each employee's mandatory

contributions, elective contributions, and attorneys' fees and expenses, minus any settlement

payment); see also Part IV(D), infra. However, to the extent the district judge finds that evidence

of coercion is required, I have also provided the necessary calculations in the "Restitution if Proof

of Coercion Required" column in Appendix 2 (recommending a total award of $20,197,981.58 in

restitution, calculated in the same manner as the "Recommended Restitution" column except that,

as to employees who did not submit individualized proof of coercion (as discussed below), elective

contributions and re-deferred 2016 bonuses are excluded).

             2.        Whether the Government Has Established Coercion by a
                       Preponderance of the Evidence

       As explained above, I do not believe that individualized evidence of coercion is (or should

be) required before the otherwise-eligible former Archegos employees can be compensated for

their elective compensation deferrals or re-deferrals. However, I agree with defendants that if such

evidence is required, the government cannot meet its burden as to all of the newly-named Proposed

Victims by relying on the trial testimony and the victim statements submitted by the First Five.

       No one testified at trial that any employee was coerced into making elective deferrals or

re-deferring their 2016 bonus. The victim statements submitted by the First Five do address this

issue, but often in terms that are both vague and subjective. For example,         attests that it was

"commonly known" that loyalty was prized at Archegos, and that, as a result, she "felt pressure

from senior management" to "contribute the maximum amount to the 'Elective' Plan or risk being

viewed by Defendant and other senior managers as disloyal." 12/5/24               Decl. ¶ 14. Other

employees describe concrete examples of pressure but do not establish that their colleagues had


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similar experiences. For example,           states that on "at least one occasion" he was personally

and directly "urged" to "change [his] election to the maximum," 12/5/24                 Ltr. at 1, but

offers only speculation that "other Archegos employees faced the same pressure." Id.

       To be sure, all employees eligible for the elective plan were required to make their deferral

decisions in November – before they learned what their bonus amount would be – which, in a

corporate culture that prized loyalty, may well have had a coercive effect. See 12/5/24         Decl.

¶ 16 & Ex. B; 12/5/24             Ltr. at 1. However, company data shows that some employees

eligible for the elective plan did in fact elect less than the maximum, see Rothman Ex. R (2020

firm-wide data), and Park clearly testified that his elective deferrals were "voluntary." Phase I Tr.

at 67. I therefore cannot conclude that the "existing record" adequately establishes that each

employee who made an elective deferral or re-deferral was coerced into doing so.

       As for the newly-named Proposed Victims, only two of them –

      – make any effort to address coercion, and only           does so persuasively.          victim

statement – a letter from his lawyer – states in a single sentence that "senior employees like

      'were pressured and induced to defer an additional 35% of their bonuses.'" 1/8/25 Bunch Ltr.

(Rothman Ex. Y) (sealed) at 2. Not only is this statement conclusory and unsupported; it is a direct

quotation (properly attributed) from the government's December 10, 2024 sentencing

memorandum, which in turn relies on the December 5, 2024              Declaration, discussed above.

See Dkt. 361 at 36. In short, rather than come forward with individualized evidence as to his own

experience,       has simply recycled "the existing record."

       By way of contrast,          has submitted her own letter, in which she details three related

episodes of pressure tactics that she personally experienced, and attaches the underlying emails.

See        Ltr. (Rothman Ex. GG) (sealed). First, on November 25, 2019,                   (and others)



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received an email from Pae, Archegos's co-President, informing her about the option to re-defer

her 2016 bonus. Id. Three days later, on November 28, 2019, Pae added, in bold type, "I think

you should unless you need the money soon." Id. The following day, after               informed Pae

that she intended to withdraw her deferred compensation (

                          ), she received another email from Pae telling her that "everyone else"

had chosen to re-defer, which "added significant pressure as [she] knew that given the company

culture, non-compliance could result in ostracism." Id. Thereafter, during an in-person meeting,

       was "strongly encouraged," by Pae, to borrow against her 401k instead of withdrawing her

deferred bonus. Id. Ultimately,       yielded and re-deferred her 2016 bonus, which she lost when

the firm collapsed in 2021,                                                 . Id.17      has, in my

view, convincingly established that she re-deferred her 2016 bonus as a result of coercion from

Archegos's senior management.

        C.     Legal Fees

        Five former Archegos employees (Burn, Huang, Kealy, Sullivan, and                       seek

restitution to cover their legal expenses, totaling $383,694.49. As to four of these employees (Burn,

Huang, Kealy, and Sullivan), defendants do not object. In fact, they take the position that the

amount of attorneys' fees to which these four former employees are entitled is "not currently at

issue before this Court," since they were among the First Five, whose awards were approved on




17
                                                                         .      Ltr. at 2.
According to Archegos's records,       lost a total of $263,750 in deferred compensation,
including the $37,500 that she could have elected, in November 2019, to theoretically be
withdrawn in January 2021. See App. 2.

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December 19, 2024. See 5/19/25 Hwang Ltr. (Dkt. 420) at 3. I agree, and see no need to revisit the

award of legal expenses for Burn, Huang, Kealy, and Sullivan.18

         The fifth employee who now seeks reimbursement for his legal fees is



                                 .         now seeks $19,920.00 in attorneys' fees incurred in

connection with the assistance he provided to the government in investigating and prosecuting this

case. I have reviewed the legal invoices that          submitted to support his request, and find them

reasonable.        should therefore be awarded restitution in the additional amount of $19,920.00

to reimburse him for the expenses. See Phase II GX 6-10 (            invoices).

         D.     Computation of Restitution

         As noted above, the government seeks a total of $31,544,430.03 in restitution for the 39

Proposed Victims listed on it final Schedule of Victims. See Phase II GX 1, Tab 1. It calculated

this figure by summing each employee's total mandatory and elective deferred compensation

contributions, plus any fees and expenses incurred by that employee in connection with the

investigation and prosecution of this criminal proceeding, minus the amount of any settlement

payment received from Archegos following its collapse. See Phase II GX 1, Tab 2; Phase II Tr.

at 15.




18
  As noted above,          made a supplemental request for "an additional $5,000 in attorneys' fees,"
just before the Phase II hearing, in connection with his preparation of a supplemental declaration
regarding coercion. See 5/15/25 Supp.              Decl. ¶ 2 n.1. The government has included the
additional $5,000 in its restitution calculation, see Phase II GX 1, Tab 2, but I recommend that no
award be made to          for this purpose.         is one of the First Five employees. His restitution
claim was approved on December 19, 2024, including                  in legal fees incurred through that
date. See Dkt. 371-1. There was no reason for him to submit additional coercion evidence five
months later. Moreover, his new declaration is duplicative of his original victim statement. See
Rothman Ex. FF.

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        I recommend a net increase to the government's proposed restitution amount of

approximately $1.45 million. See Appendix 2 ("Recommended Restitution" Column). First, for

the reasons explained above, I recommend that Dave Park be included in the Court's final

restitution orders. Based on the same methodology used by the government, Park's restitution

award would be $1,585,230.89. See Phase II GX 1, Tab 3.19

        Second, I recommend that                 be excluded from the final restitution orders. The

government was required to collect any additional restitution requests from former Archegos

employees by January 17, 2025, and to update its Schedule of Victims by January 21, 2025. Dkt.

379. However,        was first added to the Schedule of Victims on March 24, 2025, see Dkt. 403

Ex. A (sealed), without explanation. Moreover, there is no evidence in the record as to when (or

indeed whether)       himself sought a restitution award.

        Third, I recommend that          restitution award be reduced by the $5,000 that he claims

for submitting his duplicative supplemental coercion declaration.

V.              CONCLUSION

        For the foregoing reasons, I respectfully recommend that defendants be ordered to pay

$32,996,491.58 in restitution to a total of 39 former Archegos employees – including Park, but

excluding         – in the amounts specified in the "Recommended Restitution" column of

Appendix 2.

        Alternatively, if the district judge disagrees with my conclusion that individualized proof

of coercion is not properly a part of the proximate causation analysis under the MVRA, I




19
   Park asked for $1.65 million in lost mandatory and elective deferred compensation but neglected
to deduct the            settlement that he received from Archegos.

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recommend that the same 39 former employees be awarded a total of $20,197,981.58 in restitution,

divided as shown in the "Restitution if Proof of Coercion is Required" column of Appendix 2.

Dated: New York, New York
       June 13, 2025

                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge


               NOTICE OF PROCEDURE FOR FILING OF OBJECTIONS
                   TO THIS REPORT AND RECOMMENDATION

        The parties have 14 days from this date to file written objections to this Report and
Recommendation pursuant to Fed. R. Crim. P. 59(b)(2). Any objections must be filed with the
Clerk of the Court, addressed to the Hon. Alvin K. Hellerstein, and delivered to Judge Hellerstein
in accordance with his individual practices. Any request for an extension of the deadline to file
objections must also be directed to Judge Hellerstein. Failure to object in accordance with Rule
59(b)(2) "waives a party's right to review." Fed. R. Crim P. 59(b)(2); see also United States v.
Male Juv. (95-CR-1074), 121 F.3d 34, 38 (2d Cir. 1997) ("[F]ailure to object timely to a magistrate
judge's report may operate as a waiver of any further judicial review of the decision, as long as the
parties receive clear notice of the consequences of their failure to object.").




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